Case 2:11-cv-06113-.]FW-AGR Docume`nt 3 Filed 07/25/11 Page 1 of 1 Page |D #:1

 

§ AO 121 (6/90)

TO:
Register of Copyrights REPORT ON THE
Cupyright Ofi'ice FILlNG OR DETERMINATION OF AN
Library of Congress ACTION OR APPEAL
Washiogton, D.C. 20559 REGARDING A COPYRlGHT

 

 

 

 

In compliance with the provisions of 17 U.S.C. 508, you are hereby advised that a court action or appeal has been filed
on the following copyright(S):

 

COURT NAM'E AND LOCATION

ACTION |:| APPEAL United States District Court, Centra| District of Ca|ifornia
Spring Street Courthouse - 312 N. Spring Street
Los Ange|es, CA 90012

 

 

 

 

DEFENDANT

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l l
ALEXANDRE S|N|OUGU|NE, individually MED|ACHASE, LTD., a Delaware corporation;
CHR|S LUTZ, individually;
JULlE N|AGBOJOS, individua||y; and
DOES 1 through 20. inclusive

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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In the above-entitled case, the following copyright(s) have been included: `€,l,? N nn
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In thc above-entitled case, a final decision was rendered on the date entered below. A copy of the order or judgment
together with the written opinion, if any, of the court is attached

 

 

 

 

 

 

 

 

 

COPY ATTACHED WRIT{`EN OPINION ATTACH.E.D DATE RENDERED
l:l Order l:l Judgment EI Yes I:I No
CLERK (BY) DEPUTY CLERK DATE
l) Upon initiation of` action, 2) Upon filing of document adding copyright(s), 3) Upon len'nination ofaction,
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